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                     EXHIBIT D

                    Ray Declaration
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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE



In re                                                               Chapter 11I

Nortel Networks Inc., et al.,'                                      Case No. 09-10138 (KG)

                                    Debtors.                        Jointly Administered




             DECLARATION OF JOHN J. RAY, III IN SUPPORT OF
     DEBTORS' TWENTY-NINTH OMNIBUS OBJECTION (SUBSTANTIVE)
TO CERTAIN CLAIMS PURSUANT TO 11I U.S.C. § 502, FED. R. BANKR. P. 3007 AND
     DEL. L.R. 3007-1 (NO-BASIS CLAIMS, MODIFY AND ALLOW CLAIMS,
 RECLASSIFY AND ALLOW CLAIMS, WRONG DEBTOR CLAIMS, REDUNDANT
CLAIMS, AMENDED OR SUPERSEDED CLAIMS, NO-BASIS 503(b)(9) CLAIMS AND
                         NO-BASIS PENSION CLAIMS)

        1, John J. Ray, 111, hereby declare as follows:

                                               BACKGROUND


         1.       I am the Principal Officer for the Debtors. I hereby make this declaration on

behalf of the Debtors in support of the Debtors' Twenty-Ninth Omnibus Objection (Substantive)

to Certain Claims Pursuant to 11 U.S.C. § 502, Fed. R. Bankr. P. 3007 and Del. L.R. 3007-1

(No-Basis Claims, Modify and Allow Claims, Reclassify and Allow Claims, Wrong Debtor




          The debtors in these chapter I11 cases, along with the last four digits of each debtor's tax identification
number, are: Nortel Networks Inc. (6332), Nortel Networks Capital Corporation (9620), Nortel Altsystems Inc.
(9769), Nortel Altsystems International Inc. (5596), Xros, Inc. (4181), Sonoma Systems (2073), Qtera Corporation
(025 1), CoreTek, Inc. (5722), Nortel Networks Applications Management Solutions Inc. (2846), Nortel Networks
Optical Components Inc. (3545), Nortel Networks HPOCS Inc. (3546), Architel Systems (U.S.) Corporation (3826),
Nortel Networks International Inc. (0358), Northern Telecom International Inc. (6286), Nortel Networks Cable
Solutions Inc. (0567) and Nortel Networks (CALA) Inc. (4226) (collectively, the "Debtors"). Addresses for the
Debtors can be found in the Debtors' petitions, which are available at http://dm.epiql Lcom/nortel.
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Claims, Redundant Claims, Amended or Superseded Claims, No-Basis 503(b)(9) Claims and
                                                     2
No-Basis Pension Claims) (the "Objection").

        2.       1 am familiar with the Debtors' Books and Records and am responsible for

overseeing the review and analysis of all claims filed in the Debtors' chapter I11 cases. All facts

set forth herein are based on my personal knowledge and on my review of the claims, the Books

and Records and other relevant documents or information provided to me by the Debtors'

employees and advisors. If I were called upon to testify, I could and would testify competently

and accurately to each of the facts set forth herein.

                           COMPLIANCE WITH LOCAL RULE 3007-1

        3.       1 have reviewed Local Rule 3007-1 and hereby state that, to the best of my

knowledge and belief, the Objection is in compliance therewith, as modified by the orders of the

Bankruptcy Court dated December 14, 2009 and February 7, 2012 [D.I.s 2125, 7178].

                                        BASES FOR OBJECTION

       4.        1,or one or more of the Debtors' employees or advisors operating under my

supervision and/or at my direction, have reviewed each of the claims identified in Exhibits A, B

and C to the Objection, the Claims Register and the facts and circumstances set forth in the

Objection regarding such claims. Based upon this review, I submit that the facts and

circumstances set forth in the Objection are true and accurate to the best of my knowledge,

information and belief, and the claims identified in Exhibits A-C to the Objection should be

modified, and/or reclassified and allowed or disallowed as described in the Objection.




2       Capitalized terms used, but not otherwise defined, herein shall have the meanings set forth in the Objection.
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       S.     I declare under penalty of perjury that the foregoing is true and accurate to the

best of my knowledge, information and belief.

       Executed on February         2013




                                            Joh
                                            Pri nT   10 fficer for the Debtors




               [Sig-nature Page - DeclarationofJohn J Ray, III in Support of
                  Debtors' Twenty-Ninth Omnibus Objection (Substantive)
                       to CertainClaims Pursuantto 11 U.S. C. § 502,
                         Fed.R. Bankr. P. 3007 andDel. L.R. 3007-1
   (No-Basis Claims' Modify and Allow Claims, Reclassify and Allow Claims, Wrong Debtor
                Haims, Redundant Claims, Amended or Superseded Claims,
                 No-Basis 503(b)(9) Claims and No-Basis Pension Claims)]
